Case 2:04-cV-03008-.]PI\/|-de Document 4 Filed 07/26/05 Page 1 of 2 Page|D 6

HUIJBY“. QC.
UNITED STATES DISTRICT COUR
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WESTERN DISTRICT OF TENN'ESS

 

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W!D C?~’ E=~..TE t-lt-?ttPH|S
mms BERNARD, ouncme ::N A c:l:vIL cAsE
Plaintiff,
v.
BNsF RAILWAY co., cAsE No= 04-3003 ul/v
nefendant.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in

accordance With the Order of Dismissal, entered July ezé:, 2005,
this case is DISMISSED.

APPROVED :

Le»@m‘(l@!i

JO P. MCCALLA
'I'ED STATES DISTRIC'I‘ JUDGE

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DAT (:) ' Clerk of Court

 

 

 

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Th!s document entered on the docket sheet ln compliance
with Ru|e 58 and/er 79(3) FF£CP on " "

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
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July 26, 2005 to the parties listed.

 

 

Richard B. Fields

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Honorable J on McCalla
US DISTRICT COURT

